                                          Case 18-80856             Doc 1      Filed 11/16/18           Page 1 of 9

Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Advanced Sports Enterprises, Inc.

2.   All other names debtor
     used in the last 8 years
                                  FKA Performance, Inc.
     Include any assumed          FKA Performance Holdings, Inc.
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  144 Old Lystra Road
                                  Chapel Hill, NC 27517
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Chatham                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Advanced Sports Enterprises, Inc.                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5511

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                      Case 18-80856                 Doc 1        Filed 11/16/18            Page 3 of 9
Debtor   Advanced Sports Enterprises, Inc.                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Advanced Sports Enterprises, Inc.                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 16, 2018
                                                  MM / DD / YYYY


                             X   /s/ Patrick J. Cunnane                                                   Patrick J. Cunnane
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X   /s/ John A. Northen                                                       Date November 16, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John A. Northen
                                 Printed name

                                 Northen Blue, LLP
                                 Firm name

                                 PO Box 2208
                                 Chapel Hill, NC 27515
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-968-4441                  Email address


                                 6789 NC
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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Debtor     Advanced Sports Enterprises, Inc.                                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                     Chapter     11
                                                                                                                           Check if this an
                                                                                                                           amended filing




                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Advanced Sports, Inc.                                                     Relationship to you               Affiliate
District   Middle District of North Carolina           When     11/16/18             Case number, if known
Debtor     Bitech, Inc.                                                              Relationship to you               Affiliate
District   Middle District of North Carolina           When     11/16/18             Case number, if known
Debtor     Nashbar Direct, Inc.                                                      Relationship to you               Affiliate
District   Middle District of North Carolina           When     11/16/18             Case number, if known
Debtor     Performance Direct, Inc.                                                  Relationship to you               Affiliate
District   Middle District of North Carolina           When     11/16/18             Case number, if known




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 5
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 Fill in this information to identify the case:

 Debtor name         Advanced Sports Enterprises, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               List of Equity Security Holders

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 16, 2018                       X /s/ Patrick J. Cunnane
                                                                       Signature of individual signing on behalf of debtor

                                                                       Patrick J. Cunnane
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Advanced Sports Enterprises, Inc.
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF NORTH                                                                                     Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 -NONE-




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                               United States Bankruptcy Court
                                                                     Middle District of North Carolina
 In re      Advanced Sports Enterprises, Inc.                                                               Case No.
                                                                                    Debtor(s)               Chapter       11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                              Security Class Number of Securities              Kind of Interest
 business of holder
 A. Gary Snook                                                                       102892                            Common Stock
 P.O. Box 66
 Carbondale, CO 81623

 David Pruitt                                                                        7600                              Common Stock
 102 Brannon Court
 Chapel Hill, NC 27516

 Garry and Sharon Snook                                                              331714                            Common Stock
 P.O. Box 66
 Carbondale, CO 81623

 Howard and Diane Heavin                                                             447550                            Common Stock
 875 Country Road 324
 Gatesville, TX 76528

 Ideal Bicycle Corporation                                                           9814691                           Common Stock
 c/o Managing Agent
 No. 497, Sec. 1, Gangbu Rd. Wuqi Dist.
 Taichung City, Taiwan
 Republic of China

 Jadeland Pacific Limited                                                            32012756                          Common Stock
 c/o Managing Agent
 Palm Grove House, P.O. Box 438
 Road Town, Tortola
 British Virgin Islands

 Jane Parker                                                                         200                               Common Stock
 7204 Doverton Court
 Raleigh, NC 27615

 Jim Thompson                                                                        2500                              Common Stock
 Hohenweg 60
 Berg, Germany 82335

 Kenneth R. Taylor                                                                   200                               Common Stock
 216 Tripp Farm Road
 Chapel Hill, NC 27516

 NCP Performance, L.P.                                                               482922                            Common Stock
 Friends of North Castle Fund IV, LP
 c/o Managing Agent
 183 East Putnam Avenue
 Greenwich, CT 06830




Sheet 1 of 2 in List of Equity Security Holders
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 In re:    Advanced Sports Enterprises, Inc.                                                             Case No.
                                                                                     Debtor(s)



                                                      LIST OF EQUITY SECURITY HOLDERS
                                                                         (Continuation Sheet)

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder

 Peter A. Roy                                                                         102674                                    Common Stock
 265 Rice Bluff Road
 Pawleys Island, SC 29585

 Sharon M. Snook                                                                      6971                                      Common Stock
 P.O. Box 66
 Carbondale, CO 81623

 Snook Investments L.P.                                                               34090                                     Common Stock
 c/o Managing Agent
 P.O. Box 66
 Carbondale, CO 81623

 York Street Mezzanine Partners II, L.P.                                              12281293                                  Common Stock
 c/o Managing Agent
 350 Main Street, Suite 8A
 Bedminster, NJ 07921


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date November 16, 2018                                                      Signature /s/ Patrick J. Cunnane
                                                                                            Patrick J. Cunnane

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




List of equity security holders consists of 2 total page(s)
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